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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

MODESTO HERNANDEZ,                                   :
an individual,                                       :
                                                     :      CIVIL ACTION NO.
               Plaintiff,                            :
                                                     :
vs.                                                  :      Jury Trial Not Demanded
                                                     :
HAYES-KAUFMAN PLAINVILLE, LLC,                       :
a Connecticut Limited Liability Company,             :
                                                     :
               Defendant.                            :
                                                     /

                                        COMPLAINT
                                 (Injunctive Relief Demanded)

       Plaintiff, MODESTO HERNANDEZ, by and through his undersigned counsel, hereby

files this Complaint and sues HAYES-KAUFMAN PLAINVILLE, LLC, a Connecticut Limited

Liability Company, for injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. § 12181

et. seq, (“AMERICANS WITH DISABILITIES ACT” or “ADA”), and alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act. This Court is vested with original jurisdiction pursuant to 28

U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, MODESTO HERNANDEZ, (hereinafter referred to as “MR.

HERNANDEZ”), is a resident of the State of New York. However, Plaintiff enjoys taking day

and weekend trips to Connecticut and many other areas within driving distance.

       4.      MR. HERNANDEZ is a qualified individual with a disability under the ADA.

MR. HERNANDEZ suffers from Polio and requires a wheelchair to ambulate safely.
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          5.      Due to the disability, Plaintiff is substantially impaired in several major life

activities and requires a wheelchair for mobility.

          6.      The Defendant, HAYES-KAUFMAN PLAINVILLE, LLC (hereinafter referred

to as “Defendant”) is a Connecticut Limited Liability Company. Upon information and belief,

the Defendant is the owner, lessee, and/or operator of a place of public accommodation,

including the real property and improvements which is the subject of this action, to wit:

Plainville Plaza generally located at 275 New Britain Ave, Plainville, CT 06062.

          7.      All events giving rise to this lawsuit occurred in the District of Connecticut,

Hartford County, Connecticut.

                         COUNT I - VIOLATION OF TITLE III OF THE
                           AMERICANS WITH DISABILITIES ACT

          8.      Plaintiff realleges and reavers Paragraphs 1 - 7 as if they were expressly restated

herein.

          9.      The Property, a shopping plaza, includes numerous retails stores and restaurants.

Consequently, it is a place of public accommodation subject to the ADA.

          10.     MR. HERNANDEZ has visited the Property and plans to return in the near future.

          11.     During his visit, MR. HERNANDEZ experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed in this

Complaint.

          12.     MR. HERNANDEZ continues to desire to visit the Property, but fears that he will

again encounter serious difficulty due to the barriers discussed herein which continue to exist.

          13.     Furthermore, but for the existing barriers to access, MR. HERNANDEZ would

visit the Property more often.

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       14.     Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R. § 36.302 et.

seq. and is discriminating against the Plaintiff due to Defendant’s failure to provide and/or

correct, inter alia, the following architectural barriers which Plaintiff personally encountered and

which hindered his access to the Property:

               A.      Plaintiff encountered inaccessible curb ramps throughout the Property near

                       Starbucks, Big Buy, and Roz & Ali due to excessive slopes.

               B.      Plaintiff encountered inaccessible parking spaces designated for disabled

                       use throughout the Property due to low signage which can be obstructed

                       by parked vehicles and improper access aisles which are less than five feet

                       wide. Additionally, there are no nearby disabled use parking spaces

                       provided along the section of the building from Starbucks to Sport Clips

                       Haircuts.

               C.      Plaintiff encountered inaccessible sidewalk routes near Sport Clips

                       Haircuts and Roz & Ali due to running slopes in excess of 1:20 and rises

                       of over six inches without the provision of handrails.

       15.     The discriminatory violations described in Paragraph 14 are not an exclusive list

of the Defendant’s ADA violations. Plaintiff requires an inspection of the Defendant’s place of

public accommodation in order to photograph and measure all of the discriminatory acts

violating the ADA and all of the barriers to access.

       16.     To date, the readily achievable barriers and other violations of the ADA still

exist and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.


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       17.     Independent of his intent to return as a patron of the goods and services located

at the Property, Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access discussed herein have been remedied.

       18.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on

DEFENDANT.

       19.     Removal of the barriers to access located on the Property would allow Plaintiff

to fully utilize the goods and services located therein.

       20.     The Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have his reasonable attorney’s fees, costs,

and expenses paid by DEFENDANT pursuant to 42 U.S.C. § 12205.

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT, and requests the

following injunctive and declaratory relief:

               A.      That the Court declares that the Property owned, leased and/or

                       operated by DEFENDANT is in violation of the ADA;

               B.      That the Court enter an Order directing DEFENDANT to alter the

                       facility to make it accessible to and useable by individuals with

                       disabilities to the full extent required by Title III of the ADA;

               C.      That the Court enter an Order directing DEFENDANT to evaluate

                       and neutralize its policies and procedures towards persons with

                       disabilities for such reasonable time so as to allow Defendant to

                       undertake and complete corrective procedures.


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      D.     That the Court award reasonable attorney’s fees, costs (including

             expert fees), and other expenses of suit, to the Plaintiff; and

      E.     That the Court award such other and further relief as it deems

             necessary, just and proper.

Date: May 14, 2019


                                            Respectfully Submitted,



                                    By:    /s/ Louis I. Mussman
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